           Case 1:20-cv-00934-RP         Document 21        Filed 09/27/21       Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

ALICE PLAIR, INDIVIDUALLY AND   §
PAULA RIDEAU, AS NEXT FRIEND OF §
J.P., A MINOR CHILD, AND AS THE §
REPRESENTATIVE OF THE ESTATE OF §
JOHNNY RAY PLAIR, II            §
Plaintiffs,                     §
                                §                                  CAUSE NO. 1:20-CV-00934-RP
vs.                             §
                                §
HOUSING AUTHORITY OF THE CITY   §
OF AUSTIN AND PATHWAYS ASSET    §
MANAGEMENT, INC.                §
Defendants.                     §

                             DEFENDANTS’ NOTICE OF SETTLEMENT

          Defendants Housing Authority of the City of Austin and Pathways Asset Management,

Inc., through undersigned counsel, provides this notice to the Court that the parties engaged in

mediation, and reached a settlement in principal. The parties are in the process of preparing and

finalizing settlement documentation and securing review and approval by the Court-appointed ad

litem. Defendants anticipate completing that process within 30-45 days, at which time the

parties will file an appropriate stipulation to dismiss this matter.

                                                       Respectfully submitted,

                                                       FLETCHER, FARLEY,
                                                       SHIPMAN & SALINAS, LLP
                                                       2530 Walsh Tarlton Lane, Suite 150
                                                       Austin, Texas 787
                                                       (512) 476-5300
                                                       (Fax) 476-5771

                                                       By: /s/ Joanna Lippman Salinas
                                                       Joanna Lippman Salinas
                                                       State Bar No. 00791122
                                                       joanna.salinas@fletcherfarley.com

                                                       Attorneys for Defendants,
                                                       Housing Authority of the City of Austin and
                                                       Pathways Asset Management, Inc.
Notice of Settlement/25500                                                                     Page 1
           Case 1:20-cv-00934-RP      Document 21       Filed 09/27/21     Page 2 of 2




                                     Certificate of Service

       I hereby certify that a true and correct copy of the foregoing Defendants’ Notice of
Settlement has been provided to the offices of:

          Jeff Edwards
          Scott Medlock
          Davis James
          EDWARDS LAW
          1101 East 11th Street
          Austin, Texas 78702

          Luke Dow
          WENHOLZ DOW, P.C.
          9433 Bee Caves Road, Suite 1-200
          Austin, Texas 78733

by electronic service, in accordance with the Federal Rules of Civil Procedure, on September 27,
2021.

                                                   /s/ Joanna Lippman Salinas
                                                   Joanna Lippman Salinas




Notice of Settlement/25500                                                                 Page 2
